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Los Angeles, CA 90071; Tel. (213) 683-6000
                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER
                                                                        2:21-cv-05286-VAP-AFM
BRYCE DIXON
                                                         Plaintiff(s)
                                 v.


                                                                                         REQUEST:
UNIVERSITY OF SOUTHERN CALIFORNIA                                                 ADR PROCEDURE SELECTION
                                                      Defendant(s).

      Pursuant to L.R. 16-15, counsel for the University of Southern California met and
conferred with opposing counsel but the Parties did not resolve the issue. As such, USC
requests that the Court approve the following ADR procedure:

                  ADR PROCEDURE NO. 1 - The parties shall appear before the
                      magistrate judge assigned to the case or   the magistrate judge in Santa Barbara
                  for such settlement proceedings as the judge may conduct or direct.

                  ADR PROCEDURE NO. 2 - The parties shall appear before a neutral selected
                  from the Court’s Mediation Panel.

                  ADR PROCEDURE NO. 3 - The parties shall participate in a private dispute
                  resolution proceeding.


         Dated:

                                                        Attorney for Plaintiff

         Dated:

                                                        Attorney for Plaintiff

         Dated:                                           /s/ Cameron W. Fox

                                                        Attorney for Defendant University of Southern California

         Dated:

                                                        Attorney for Defendant
NOTE: If additional signatures are required, attach an additional page to this request.

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